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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION
                                    LONDON

   UNITED STATES OF AMERICA,                       )
                                                   )
           Plaintiff,                              )             No. 6:18-CV-279-REW
                                                   )
   v.                                              )
                                                   )                    ORDER
   ESTATE OF BETTY LOUISE PARKS,                   )
   DECEASED, et al.,                               )
                                                   )
           Defendants.
                                    *** *** *** ***

        On October 29, 2018, the United States initiated this foreclosure action against the

 following Defendants: the Estate of Betty Louise Parks, Deceased; Vicky May; Debbie

 Parks; Roger Parks; and the Unknown Heirs of Betty Louise Parks; as well as the Unknown

 Spouses of Betty Louise Parks, Vicky May, Debbie Parks, Roger Parks, and the Unknown

 Heirs of Betty Louise Parks. DE #1 (Complaint). The at-issue property is located at 589

 Florence Street, Corbin, Kentucky 40701. The United States now pursues warning order

 issuance, and appointment of warning order counsel, for all Defendants. DE ##7, 8, 9, 10,

 11, 12 (Motions).

        “The Federal Rules of Civil Procedure [ ] do not expressly provide for appointment

 of a warning order attorney.” In re Air Crash at Lexington, Ky., Aug. 27, 2006, No.

 CIV.A.5:06CV316-KSF, 2008 WL 217123, at *2 (E.D. Ky. Jan. 25, 2008) (citing Fed. R.

 Civ. P. 4). As authority for the requests here, Plaintiff cites Federal Rule 4, subsections

 (e)(1) & (g), and Kentucky Rules 4.05–.08. See DE #7 at 2–3; DE #8 at 3; DE #9 at 3; DE

 #10 at 3; DE #11 at 3; DE #12 at 3.



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         “Fed. R. Civ. P. 4(e)(1) provides that an individual may be served following the

  state law for serving a summons, which may include, in the Commonwealth of Kentucky,

  service by warning order attorney under the auspices of Ky. CR 4.05, 4.06, and 4.07.”

  United States v. Townsend, No. 5:10-CV-381-JMH, 2010 WL 5014373, at *1 (E.D. Ky.

  Dec. 3, 2010). Thus, the Court turns to Kentucky Rule 4.05(e), which permits constructive

  service on a party “whose name or place of residence is unknown to the plaintiff”; for such

  a party the Court may, “subject to the provisions of Rule 4.06, [issue] an order upon the

  complaint warning the party to appear and defend the action within 50 days.” Id. Kentucky

  requires “strict compliance with [the warning order] rules[.]” Nolph v. Scott, 725 S.W.2d

  860, 861 (Ky. 1987).

         Counsel’s affidavits satisfy the permissive Rule 4.05(e) predicate, providing that

  the current addresses and/or residences for each Defendant are unknown to Plaintiff. See

  DE #7-1 ¶ 2; DE #8-1 ¶¶ 2–3; DE #9-1 ¶¶ 2–3; DE #10-1 ¶¶ 2–3; DE #11-1 ¶ 2; DE #12-

  1 ¶¶ 2–3. The affidavits further meet the referenced Rule 4.06 strictures.1 Under the

  circumstances, Kentucky law requires no more for warning order issuance. See CR 4.06(2)

  (“An affidavit made pursuant to the provisions of Rule 4.06(1), unless it is controverted by

  the defendant's affidavit, shall be sufficient evidence of the facts therein stated for the



  1
    Kentucky Rule 4.06(1) requires an affiant to “state the last known address of the
  defendant, . . . or . . . state his ignorance of such of those facts as he does not know.” Id.
  Additionally, non-plaintiff Rule 4.05 affiants must state their “connection with the plaintiff
  and [their] belief that the plaintiff is ignorant of such facts as are unknown to the affiant.”
  Id. Counsel’s affidavit complies with the Rule 4.06 requirements. See DE #7-1 ¶ 1, DE #8-
  1 ¶ 1, DE #9-1 ¶ 1, DE #10-1 ¶ 1, DE #11-1 ¶ 1, DE #12-1 ¶ 1 (providing the affiant’s
  connection to Plaintiff); DE #7-1 ¶ 3; DE #8-1 Second ¶ 3; DE #9-1 Second ¶ 3; DE #10-
  1 Second ¶ 3; DE #11-1 ¶ 3; DE #12-1 ¶¶ 4–5 (providing the last known addresses or
  stating that they are unknown); DE #7-1 ¶ 4, DE #8-1 ¶ 4, DE #9-1 ¶ 4, DE #10-1 ¶ 4, DE
  #11-1 ¶ 4, DE #12-1 Second ¶ 4 (noting Plaintiff’s ignorance of facts unknown to the
  affiant).
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  support of the action as well as of the warning order.”). The Court, finding Plaintiff’s

  requests compliant with Kentucky mechanics pursuant to Federal Rule 4(e)(1), will enter

  warning orders for all Defendants.

         Further, the Kentucky rules mandate warning order attorney appointment

  concurrent with issuance of any warning order. See CR 4.07(1) (“The clerk at the time of

  making a warning order shall appoint, as attorney for the defendant, a practicing attorney

  of the court.”). The Court views Plaintiff’s clearance of the Rule 4.05 hurdle as both

  necessary and sufficient to warrant the requested Rule 4.07 appointments. Accordingly, the

  Court, for the reasons stated, GRANTS DE ##7, 8, 9, 10, 11, and 12 and ORDERS as

  follows:

         1. The Court hereby NOTIFIES the Estate of Betty Louise Parks, Deceased;

             Vicky May; Debbie Parks; Roger Parks; the Unknown Heirs of Betty Louise

             Parks; and the Unknown Spouses of Betty Louise Parks, Vicky May, Debbie

             Parks, Roger Parks, and the Unknown Heirs of Betty Louise Parks that the

             United States has initiated an action naming you as Defendants in federal court.

             See DE 1. The Court further WARNS these Defendants that a failure to appear

             and defend in this action within 51 days could result in entry of a default

             judgment in the Plaintiff’s favor. See CR 4.08 (“A defendant constructively

             summoned shall be deemed to have been summoned on the 30th day after the

             entry of a warning order and the action may proceed accordingly.”); Fed. R.

             Civ. P. 12(a)(1)(A) (“A defendant must serve an answer . . . within 21 days after

             being served with the summons and complaint[.]”).




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         2. The Court APPOINTS the following practicing attorneys in good standing as

            Warning Order Attorneys for the Defendants, as follows:

  James Michael Inman                       Estate of Betty Louise Parks, Deceased
  Green, Chesnut & Hughes PLLC
  201 E. Main Street
  Chase Tower, Suite 800
  Lexington, KY 40507
  859-475-1471
  jinman@gcandh.com

  Brandi N. Lewis                           Vicky May
  Baldani, Rowland & Richardson
  300 W. Short Street
  Lexington, KY 40507
  859-259-0727
  brandi@brr-law.com

  Whitney True Lawson                       Unknown Spouse of Vicky May
  True Guarnieri Ayer LLP
  124 W. Clinton Street
  Frankfort, KY 40601
  502-605-9900
  wlawson@truelawky.com

  Benjamin D. Allen                         Debbie Parks
  Gess, Mattingly & Atchison, P.S.C.
  201 W. Short Street
  Lexington, KY 40507
  859-252-9000
  benallen@gmalaw.com

  George Scott Hayworth                     Unknown Spouse of Debbie Parks
  Hughes, Lowry, Milner & Hayworth
  271 W. Short Street, Suite 812
  Lexington, KY 40507
  scott.hayworth@qx.net

  Jeffrey C. Rager                          Roger Parks
  Rager Law, PLLC
  444 Lewis Hargett Circle, Suite 180
  Lexington, KY 40503
  859-963-2929
  jrager@ragerlawky.com



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  Timothy Reed Wiseman                         Unknown Spouse of Roger Parks
  Stoll Keenon Ogden, PLLC - Lexington
  300 W. Vine Street, Suite 2100
  Lexington, KY 40507
  859-231-3073
  tim.wiseman@skofirm.com

  Pamela Dae Perlman                           Unknown Spouse of Betty Louise Parks
  369 W. Vine Street, Suite 2001
  Lexington, KY 40507
  859-231-7572
  pdperlman@hotmail.com

  Doreen Helen-Marie Thompson                  Unknown Heirs of Betty Louise Parks
  Thompson Law Office - Lexington
  219 N. Upper Street
  Lexington, KY 40507
  859-280-2222
  Dori@ethompsonlaw.com

  John W. Oakley, II                           Unknown Spouses of the Unknown Heirs of
  Oakley & Oakley                              Betty Louise Parks
  271 W. Short Street, Suite 111
  Lexington, KY 40507
  859-254-4035
  jay@oakleylawky.com

         3. The Warning Order Attorneys shall:

                a. Make diligent efforts to inform the Defendants, by mail, concerning the

                    pendency and nature of this mortgage foreclosure action. The Plaintiff’s

                    cause of action is for the foreclosure of the Plaintiff’s mortgage lien on

                    the subject real property. The Plaintiff’s motion for entry of this Order

                    sets forth the at-issue property’s address and the Defendants’ addresses

                    last known to the Plaintiff;




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               b. Report the results of their efforts to the Court within 60 days from the

                   date of entry of this Order. Counsel shall verify their reports or submit

                   a supporting affidavit. The reports must include (if applicable) service

                   effort details, supporting documentation communicated or sent to

                   Defendants to effect service, and copies of counsel’s written

                   correspondence;

               c. If the Warning Order Attorneys are unable to notify the Defendants

                   regarding this action’s pendency, they shall so report, and, if able to

                   present a defense, shall then file an answer on Defendant’s behalf.

                   Alternatively, if the Warning Order Attorneys are unable to mount a

                   defense, they shall include that information in their reports;

               d. Provide a copy of the report to counsel of record for the United States.

        4. The Court authorizes the Warning Order Attorneys, in connection with their

           efforts to notify the defendants, to incur reasonable expenses such as postage,

           expenses attendant to public records searches, expenses attendant to on-line

           locator services, and telephone charges. However, the Court requires the

           Warning Order Attorneys to seek leave before incurring extraordinary expenses

           outside these categories such as newspaper advertisement charges and private

           investigator fees.

        5. Upon receipt of this Order, Plaintiff’s counsel shall cause to be delivered, by

           mail or by electronic means, to the Warning Order Attorneys’ offices the

           following: a copy of the Complaint, a copy of the Plaintiff’s motion for this

           Order, and a copy of this Order.



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        6. Upon report filing, the Warning Order Attorneys may also file a motion and

           affidavit for payment of the Warning Order Attorney’s fee and expenses. The

           Court will award the Warning Order Attorneys the customary fee for such

           services as well as reasonable expenses. The Warning Order Attorneys’ fees

           and expenses shall be taxed as costs.

        7. The Warning Order Attorneys may notify the Court if payment is not received

           within (60) days of any Order awarding fees and expenses.

               This the 28th day of February, 2019.




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